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  13                         UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA
  14

  15    MATHEW PUTZI, Derivatively On                    )     CASE NO.:
        Behalf of RIVIAN AUTOMOTIVE,                     )
  16
        INC.,                                            )     VERIFIED SHAREHOLDER
  17                                                     )     DERIVATIVE COMPLAINT
                                     Plaintiff,          )
  18
                                                         )
  19           vs.                                       )     JURY TRIAL DEMANDED
  20
                                                         )
        ROBERT J. SCARINGE, KAREN                        )
  21    BOONE, SANFORD SCHWARTZ,                         )
  22
        ROSE MARCARIO, PETER                             )
        KRAWIEC, JAY FLATLEY, AND                        )
  23    PAMELA THOMAS-GRAHAM,                            )
  24
                                                         )
                                     Defendants,         )
  25                                                     )
  26           -and-                                     )
                                                         )
  27    RIVIAN AUTOMOTIVE, INC.,                         )
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   1
                                                         )
                                    Nominal              )
   2    Defendant.                                       )
   3                                                     )
                                                         )
   4
              Plaintiff Mathew Putzi (“Plaintiff”), by and through his undersigned counsel,
   5
       derivatively on behalf of Nominal Defendant Rivian Automotive, Inc. (“Rivian
   6
       Automotive” or the “Company”), submits this Verified Shareholder Derivative
   7
       Complaint (the “Complaint”). Plaintiff’s allegations are based upon his personal
   8
       knowledge as to himself and his own acts, and upon information and belief,
   9
       developed from the investigation and analysis by Plaintiff’s counsel, including a
  10
       review of publicly available information, including filings by Rivian with the U.S.
  11
       Securities and Exchange Commission (“SEC”), press releases, news reports, analyst
  12
       reports, investor conference transcripts, publicly available filings in lawsuits, and
  13
       matters of public record. Plaintiff believes that substantial evidentiary support will
  14
       exist for the allegations set forth herein after a reasonable opportunity for discovery.
  15
                                    NATURE OF THE ACTTION
  16
              1.     This is a shareholder derivative action brought on behalf of and for the
  17
       benefit of the Company, against certain of its officers and/or directors named as
  18
       defendants herein seeking to remedy Defendants (defined below) violations of
  19
       Section 14(a) of the Securities Exchange Act of 1934 (the “Exchange Act”), and
  20
       their breaches of fiduciary duties and other wrongful conduct as alleged herein.
  21
       Defendants’ actions have caused, and will continue to cause, substantial financial
  22
       harm and other damages to the Company, including damages to its reputation and
  23
       goodwill.
  24
              2.     Rivian is an electric vehicle (“EV”) company that purports to design,
  25
       develop, and manufacture category-defining electric vehicles and accessories and
  26
       sell them directly to customers in the consumer and commercial markets.
  27
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   1          3.     In 2018, Rivian unveiled its first consumer EVs: the R1T electric
   2   pickup truck and the R1S electric SUV. According to the Registration Statement,
   3   the “R1T and R1S introduce our brand to the world and will serve as our flagship
   4   vehicles as we continue to expand our offerings.”
   5          4.     R1T sales began in September 2021 and R1S sales were planned to
   6   begin in December 2021.            As of October 31, 2021, the Company reported
   7   “approximately 55,400 R1T and R1S preorders in the United States and Canada
   8   from customers who paid a cancellable and fully refundable deposit of $1,000.” At
   9   the time of its IPO, the Company planned to produce approximately 1,200 R1Ts and
  10   25 R1Ss by the end of 2021. Based on the Company’s production forecast, it
  11   expected to fill its 55,400 R1T and R1S backlog by the end of 2023. Therefore,
  12   while the number of preorders underscored the Company’s potential for success –
  13   that potential depended on customers ultimately completing their purchases once the
  14   Company’s EVs became available.
  15          5.     On November 10, 2021, the Company offered 153 million shares to the
  16   public through an IPO at a price of $78.00 per share for total proceeds of $11.93
  17   billion.
  18          6.     The Company’s focus on its reputation for transparency and devotion
  19   to its customers, along with its R1T and R1S, including the large number of
  20   preorders and potential for increased demand were key selling points to IPO
  21   investors.
  22          7.     However, the Registration Statement’s representations were materially
  23   inaccurate, misleading, and/or incomplete because they failed to disclose, among
  24   other things, that the R1T and R1S were underpriced to such a degree that the
  25   Company would have to raise prices shortly after the IPO and that these price
  26   increases would tarnish the Company’s reputation as a trustworthy and transparent
  27   company and would put a significant number of the existing backlog of 55,400
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   1   preorders along with future preorders in jeopardy of cancellation.
   2          8.     Accordingly, the price of the Company’s shares was artificially and
   3   materially inflated at the time of the Offering.
   4                                JURISDICTION AND VENUE
   5          9.     This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331
   6   because Plaintiff’s claims raise a federal question under Section 14(a) of the
   7   Exchange Act.
   8          10.    This Court has jurisdiction over each defendant named herein because
   9   each defendant is either a corporation that conducts business in and maintains
  10   operations in this District or is an individual who has sufficient minimum contacts
  11   with this District to render the exercise of jurisdiction by the District courts
  12   permissible under traditional notions of fair play and substantial justice.
  13          11.    Venue is proper in this Court in accordance with 28 U.S.C. § 1391
  14   because the Company is incorporated in Delaware.
  15                                            PARTIES
  16   Plaintiff
  17          12.    Plaintiff Mathew Putzi acquired the Company securities and will
  18   continue to hold her Rivian shares throughout the pendency of this action. Plaintiff
  19   will fairly and adequately represent the interests of the shareholders in enforcing the
  20   rights of the corporation.
  21   Nominal Defendant
  22          13.    Nominal Defendant Rivian is an electric vehicle automaker and
  23   automotive technology company that designs, develops, and manufactures electric
  24   vehicles and accessories and sells them directly to consumers and the commercial
  25   market.
  26   Director Defendants
  27          14.    Defendant Robert J. Scaringe (“Scaringe”) is the founder of Rivian.
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   1   Defendant Scaringe is Chief Executive Officer (“CEO”) and a Company director
   2   since 2009. Defendant Scaringe has served as Chairman of the Board of Directors
   3   (the “Board”) since 2018. On April 27, 2022, the Company filed a Proxy Statement
   4   with the SEC (the “2022 Proxy Statement”). According to the 2022 Proxy Statement,
   5   Defendant Scaringe beneficially owns 11,995,467 shares of Rivian Class A stock
   6   and 7,825,000 shares of Class B stock, giving him 9.2% of the Company’s voting
   7   control.
   8          15.    Defendant Karen Boone (“Boone”) is a director, Chair of the Audit
   9   Committee, and a member of the Compensation Committee. Defendant Boone is
  10   also on the board of Peloton Interactive, Inc. (“Peloton”).
  11          16.    Defendant Sanford Schwartz (“Schwartz”) is a director, Chair of the
  12   Compensation Committee, and a member of the Plant and Policy Committee.
  13   According to the 2022 Proxy Statement, Defendant Schwartz beneficially owns
  14   126,258 Rivian Class A shares. Defendant Schwartz received $738,814 in
  15   compensation in the form of fees and stock and option awards for his service as a
  16   director in 2021. Defendant Schwartz has served in several positions at Cox
  17   Enterprises, Inc, (“Cox”), a communications and automotive company, including
  18   most recently as CEO of the Cox Family Office since January 2021, guiding family
  19   investments and estate planning for the company’s shareholders. Cox, through its
  20   affiliate Manheim Investments, Inc. (“Manheim”), is one of the largest shareholders
  21   of Rivian.
  22          17.    Defendant Rose Marcario (“Marcario”) is a director and Chair of the
  23   Plant and Policy Committee. According to the 2022 Proxy Statement, Defendant
  24   Marcario beneficially owns 64,701 Rivian Class A shares. Defendant Marcario
  25   received $600,185 in compensation in the form of fees and stock and option awards
  26   for her service as a director in 2021.
  27          18.    Defendant Peter Krawiec (“Krawiec”) is a director since 2019.
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   1   According to the 2022 Proxy Statement, Defendant Krawiec beneficially owns
   2   38,186 Rivian Class A shares. Defendant Krawiec received $1,180,709 in
   3   compensation in the form of fees and stock and option awards for his service as a
   4   director in 2021. Since 2007, Defendant Krawiec has served in various leadership
   5   roles at Amazon.com., Inc. (“Amazon”), a multi-national technology company
   6   focused on e-commerce, cloud computing, digital streaming, and artificial
   7   intelligence, including as Vice President of Worldwide Corporate and Business
   8   Development since March 2021. Amazon is the largest shareholder of Rivian.
   9          19.    Defendant Jay Flatley (“Flatley”) is a director since 2021 and a
  10   member of the Audit Committee and the Nominating and Governance Committee.
  11   According to the 2022 Proxy Statement, Defendant Flatley beneficially owns 72,616
  12   Rivian Class A shares. Defendant Flatley received $731,187 in compensation in the
  13   form of fees and stock and option awards for his service as a director in 2021.
  14   Defendant Flatley is the CEO and Chair of the Board of Zymergen Inc.
  15   (“Zymergen”), a biotechnology company.
  16          20.    Defendant Pamela Thomas-Graham (“Thomas-Graham”) is a director
  17   since 2021. Defendant Thomas-Graham is Chair of the Nominating and Governance
  18   Committee and a member of the Audit Committee. According to the 2022 Proxy
  19   Statement, Defendant Thomas-Graham beneficially owns 20,713 Rivian Class A
  20   shares. Defendant Thomas-Graham received $995,296 in compensation in the form
  21   of fees and stock and option awards for her service as a director in 2021. Defendant
  22   Thomas-Graham is also on the board of Peloton.
  23          21.    Defendants Scaringe, Boone, Schwartz, Marcario, Krawiec, Flatley and
  24   Thomas-Graham are referred to herein as the “Director Defendants”.
  25                  THE COMPANY’S CORPORATE GOVERNANCE
  26          22.    As members of Board, the Director Defendants were held to the highest
  27   standards of honesty and integrity and charged with overseeing the Company’s
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   1   business practices and policies and assuring the integrity of its financial and business
   2   records.
   3          23.    The conduct of the Director Defendants complained of herein involves
   4   a knowing and culpable violation of their obligations as directors and officers of
   5   Rivian, the absence of good faith on their part, and a reckless disregard for their
   6   duties to the Company and its investors that the Director Defendants were aware
   7   posed a risk of serious injury to the Company
   8                     DUTIES OF THE DIRECTOR DEFENDANTS
   9          24.    By reason of their positions as officers, directors, and/or fiduciaries of
  10   Rivian and because of their ability to control the business and corporate affairs of
  11   Rivian, the Director Defendants owed the Company and its shareholders the
  12   fiduciary obligations of trust, loyalty, good faith and due care, and were and are
  13   required to use their utmost ability to control and manage Rivian in a fair, just,
  14   honest, and equitable manner. The Director Defendants were and are required to act
  15   in furtherance of the best interests of Rivian and its shareholders.
  16          25.    Each director and officer of the Company owes to Rivian and its
  17   shareholders the fiduciary duty to exercise good faith and diligence in the
  18   administration of the affairs of the Company and in the use and preservation of its
  19   property and assets, as well as the highest obligations of fair dealing. In addition, as
  20   officers and/or directors of a publicly held company, the Director Defendants had a
  21   duty to promptly disseminate accurate and truthful information regarding the
  22   Company’s operations, finances, financial condition, and present and future business
  23   prospects so that the market price of the Company’s stock would be based on truthful
  24   and accurate information.
  25          26.    The Director Defendants, because of their positions of control and
  26   authority as directors and/or officers of Rivian, were able to and did, directly and/or
  27   indirectly, exercise control over the wrongful acts complained of herein, as well as
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   1   the contents of the various public statements issued by the Company. Because of
   2   their advisory, executive, managerial and directorial positions with Rivian, each of
   3   the Defendants had access to adverse non-public information about the financial
   4   condition, operations, sales and marketing practices, and improper representations
   5   of Rivian.
   6          27.    To discharge their duties, the officers and directors of Rivian were
   7   required to exercise reasonable and prudent supervision over the management,
   8   policies, practices, and controls of the financial affairs of the Company. By virtue
   9   of such duties, the officers and directors of Rivian were required to, among other
  10   things:
  11                 (a)     Ensure that the Company complied with its legal obligations and
  12          requirements, including acting only within the scope of its legal authority and
  13          disseminating truthful and accurate statements to the SEC and the investing
  14          public;
  15                 (b)     Conduct the affairs of the Company in an efficient, businesslike
  16          manner so as to make it possible to provide the highest quality performance
  17          of its business, to avoid wasting the Company’s assets, and to maximize the
  18          value of the Company’s stock;
  19                 (c)     Properly and accurately guide investors and analysts as to the
  20          true financial condition of the Company at any given time, including making
  21          accurate statements about the Company’s business prospects, and ensuring
  22          that the Company maintained an adequate system of financial controls such
  23          that the Company’s financial reporting would be true and accurate at all times;
  24                 (d)     Remain informed as to how Rivian conducted its operations, and,
  25          upon receipt of notice or information of imprudent or unsound conditions or
  26          practices, make reasonable inquiries in connection therewith, take steps to
  27          correct such conditions or practices, and make such disclosures as necessary
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   1          to comply with federal and state securities laws;
   2                 (e)     Ensure that the Company was operated in a diligent, honest, and
   3          prudent manner in compliance with all applicable federal, state and local laws,
   4          and rules and regulations; and
   5                 (f)     Ensure that all decisions were the product of independent
   6          business judgment and not the result of outside influences or entrenchment
   7          motives.
   8          28.    Each Director Defendant, by virtue of his or her position as a director
   9   and/or officer, owed to the Company and to its shareholders the fiduciary duties of
  10   loyalty, good faith, and the exercise of due care and diligence in the management
  11   and administration of the affairs of the Company, as well as in the use and
  12   preservation of its property and assets. The conduct of the Director Defendants
  13   complained of herein involves a knowing and culpable violation of their obligations
  14   as directors and officers of Rivian, the absence of good faith on their part, and a
  15   reckless disregard for their duties to the Company and its shareholders that the
  16   Director Defendants were aware or should have been aware posed a risk of serious
  17   injury to the Company.
  18          29.    The Director Defendants breached their duties of loyalty and good faith
  19   by causing the Company to misrepresent the information as detailed infra. The
  20   Director Defendants’ subjected the Company to the costs of defending, and the
  21   potential liability from, the securities class action. As a result, Rivian has expended,
  22   and will continue to expend, significant sums of money.
  23          30.    The Director Defendants’ actions have irreparably damaged Rivian’s
  24   corporate image and goodwill.
  25                                    AUDIT COMMITTEE
  26          31.    The purpose of the Audit Committee is to prepare the Audit Committee
  27   Report required by the SEC to be included in the Company’s Proxy Statement and
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    1   to assist the Board in overseeing and monitoring.
    2          32.    The Audit Committee Charter states:
    3
               1.     Purpose
    4

    5          To oversee the accounting and financial reporting processes of Rivian
               Automotive, Inc. (the “Corporation”) and the audits of the financial
    6          statements of the Corporation.
    7
               The Audit Committee’s responsibilities are limited to oversight. The
    8          Corporation’s management is responsible for establishing and
    9          maintaining accounting policies and procedures in accordance with
               generally accepted accounting principles (“GAAP”) and other
   10          applicable reporting and disclosure standards and for preparing the
   11          Corporation’s financial statements. The Corporation’s independent
               auditors are responsible for auditing and reviewing those financial
   12          statements.
   13
                                                     ***
   14

   15          5.     Duties and Responsibilities

   16          The Audit Committee will have the duties and responsibilities set forth
   17          below.

   18          A.     Financial Statements and Financial Reporting
   19
               (i)    Review significant accounting and reporting issues, including
   20                 complex or unusual transactions and highly judgmental areas,
   21                 and recent professional and regulatory pronouncements, and
                      understand their impact on the Corporation’s financial
   22                 statements.
   23
               (ii)   Review and discuss the annual audited financial statements and
   24                 quarterly financial statements with management and the
   25                 independent auditor, including the Corporation’s disclosures
                      under “Management’s Discussion and Analysis of Financial
   26                 Condition and Results of Operations.”
   27
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    1
               (iii)   Review and discuss the Corporation’s earnings press releases, as
                       well as financial information and earnings guidance provided to
    2                  analysts and rating agencies.
    3
               (iv)    Provide the Corporation with the report of the Audit Committee
    4                  with respect to the audited financial statements for inclusion in
    5                  each of the Corporation’s annual proxy statements.

    6          B.      Risk Management and Compliance
    7
               (i)     Review with management the Corporation’s major financial risk
    8                  and enterprise exposures and the steps management has taken to
    9                  mitigate such exposures, including the structure, design,
                       adoption and implementation of the Corporation’s risk
   10                  management policies and internal control systems.
   11
               (ii)    Review the scope of the internal and independent auditors’
   12                  assessment of internal control over financial reporting, and
   13                  obtain reports on any significant deficiencies and/or material
                       weaknesses, together with recommendations and management’s
   14                  responses.
   15
               (iii)   Review and provide oversight with respect to the Corporation’s
   16                  policies and procedures for the receipt, retention and treatment
   17                  of complaints received by the Corporation regarding accounting,
                       internal accounting controls or auditing matters.
   18

   19          C.      Independent Auditor
   20          (i)     Directly approve the appointment, retention, termination,
   21                  compensation, terms of engagement of and oversee the work of
                       the independent auditor and any other registered public
   22                  accounting firm engaged for the purpose of preparing or issuing
   23                  an audit report or related work or performing other audit, review
                       or attest services for the Corporation. The independent auditor
   24                  and each such other registered public accounting firm must
   25                  report directly to the Audit Committee.
   26          (ii)    Pre-approve any audit and non-audit service provided to the
   27                  Corporation by the independent auditor, unless the engagement
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    1
                       is entered into pursuant to appropriate preapproval policies
                       established by the Audit Committee or if such service falls within
    2                  available exceptions under SEC rules.
    3
               (iii)   Oversee the resolution of any disagreements between
    4                  management and the independent auditor regarding financial
    5                  reporting.

    6          (iv)    Review and confirm the independence of the independent auditor
    7                  by ensuring that the independent auditor prepares and delivers,
                       at least annually, a written statement delineating all relationships
    8                  between the independent auditor and the Corporation, actively
    9                  engaging in a dialogue with the independent auditor with respect
                       to any disclosed relationships or services that, in the view of the
   10                  Audit Committee, may impact the objectivity and independence
   11                  of the independent auditor, and, if the Audit Committee
                       determines that further inquiry is advisable, taking appropriate
   12                  action in response to the independent auditor’s report to satisfy
   13                  itself of the auditor’s independence.

   14          (v)     Discuss with the independent auditor any audit problems or
   15                  difficulties and management’s response.

   16                   THE FALSE AND MISLEADING STATEMENTS

   17          33.     The Registration Statement and Prospectus used to effectuate the

   18   Company’s IPO contained untrue statements of material fact, and omitted

   19   information necessary in order to make the statements made therein not misleading,

   20   and omitted material facts required to be stated therein. Specifically, the Registration

   21   Statement misled investors with respect to the potential for significant reputational

   22   damage and cancellation of fully refundable preorders for its R1T and R1S EVs due

   23   to the Company’s need to address its underpriced EVs by raising prices shortly after

   24   the IPO.

   25          34.     As a new entrant into the automotive industry, the Registration

   26   Statement acknowledged that the Company faced the challenge of competing against

   27   current and potential manufacturers for sales:
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    1
               Both the automobile industry generally, and the EV segment in
    2          particular, are highly competitive, and we will be competing for sales
    3          with both EV manufacturers and traditional automotive companies.
               Many of our current and potential competitors may have significantly
    4          greater financial, technical, manufacturing, marketing, or other
    5          resources than we do and may be able to devote greater resources to the
               design, development, manufacturing, distribution, promotion, sale and
    6          support of their products than we may devote to our products. We
    7          expect competition for EVs to intensify due to increased demand and a
               regulatory push for alternative fuel vehicles, continuing globalization,
    8          and consolidation in the worldwide automotive industry
    9          35.    Indeed, at the time of its IPO, the Company was just beginning to
   10   produce and deliver its first consumer EVs. The Registration Statement stated:
   11
               In the consumer market, we launched the R1 platform with our first-
   12          generation consumer vehicle, the R1T, a two-row five-passenger
   13          pickup truck, and began making customer deliveries in September
               2021. As of September 30, 2021, we produced 12 R1Ts and delivered
   14          11 R1Ts, and as of October 31, 2021, we produced 180 R1Ts and
   15          delivered 156 R1Ts. Nearly all of these vehicles were delivered to
               Rivian employees, and we expect to ramp deliveries to third-party
   16          customers as we increase our production rate. We plan to launch and
   17          commence customer deliveries for the R1S, a three-row seven-
               passenger sports utility vehicle (“SUV”) in December 2021 following
   18          the completion of ongoing vehicle validation and all required testing.
   19          By the end of 2021, we intend to produce approximately 1,200 R1Ts
               and 25 R1Ss and deliver approximately 1,000 R1Ts and 15 R1Ss.
   20
               36.    The Company’s ability to achieve success would depend on building a
   21
        strong brand that encouraged adoption and customer loyalty. Despite its status as
   22
        newcomer to the industry, the Company enjoyed a great deal of excitement in the
   23
        lead up to its IPO. An article published in The Wall Street Journal on November 9,
   24
        2021, reported that the Company’s IPO was “highly anticipated” and that:
   25

   26          On its roadshow pitch to investors, Rivian’s bankers compared the
               company to electric-vehicle giant Tesla Inc., whose explosive share
   27
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    1
               increase has handed it a market capitalization of more than $1 trillion.
               Though Rivian is at a much earlier stage, has big losses and had no
    2          revenue until very recently, investors were clearly receptive and drawn
    3          to the company’s growth potential.
               37.    The Registration Statement also made the following representations
    4
        regarding the Company’s business and potential for growth:
    5

    6          Our diverse product portfolio and focus on inspiring people to get out
    7          and explore
               the world positions us to build an enduring brand while addressing a
    8          wide range of future mobility and sustainability solutions. Through our
    9          base of preorders, we observe strong affinity for our brand which we
               expect to intensify as brand awareness grows and we welcome new
   10          customers to the Rivian community. As of October 31, 2021, we had
   11          approximately 55,400 R1T and R1S preorders in the United States and
               Canada from customers who each paid a cancellable and fully
   12          refundable deposit of $1,000. We believe the combination of our deep
   13          focus on addressing climate change, building compelling products, and
               delivering a superior customer experience will enable Rivian to drive
   14          adoption and customer loyalty, powering our continued growth.
   15          38.    The Registration Statement highlighted factors that would add to the
   16   Company’s success, including its direct customer relationships:
   17
               The Rivian Advantage
   18

   19          We designed all aspects of our ecosystem, business model, offerings,
               and organization to enable a scalable, customer-centric, and efficient
   20          approach, resulting in key competitive advantages.
   21
               Direct Customer Relationships.            We are a customer-centric
   22          organization. Our direct relationships with customers allow us to design
   23          solutions that best serve their needs, drive strong engagement, remove
               structural inefficiencies, create transparency, and increase customer
   24          satisfaction and referrals. Our relationships also serve as a medium for
   25          establishing a real-time feedback loop, through which we gather
               valuable data to improve our products and services. By controlling
   26          every customer touchpoint from awareness through ownership, we
   27          replace a patchwork of third parties with our end-to-end, integrated
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    1
               solutions. We expect to deliver more value to customers along with a
               superior experience that will generate brand loyalty and increase
    2          adoption of our offerings.
    3          39.    The Registration Statement also emphasized that “[o]ur first production
    4   vehicles, the R1T [and] R1S, . . . are our handshake with the world, the first step in
    5   building a relationship with customers. We are focused on ensuring that this first
    6   experience with a Rivian vehicle creates excitement and passion for our brand.”
    7          40.    Also, the Registration Statement stated that “[o]ur vehicles occupy an
    8   attractive whitespace, addressing large, fast-growing, and high-margin market
    9   segments, and are designed to accelerate the large-scale adoption of sustainable
   10   transportation. The RlT and R1S introduce our brand to the world and will serve as
   11   our flagship vehicles as we continue to expand our offerings.”
   12          41.    The Registration Statement reaffirmed these representations by making
   13   the following statements regarding the Company’s focus on consumer experience:
   14
               The Rivian Consumer Experience
   15

   16          Our consumer journey has been holistically designed to create a
               seamless, end-to-end experience across the vehicle lifecycle, including
   17          awareness, engagement, conversion, delivery, and ownership. As part
   18          of this journey, we have developed intuitive digital tools and robust
               infrastructure to deliver an exceptional experience.
   19

   20          Every aspect of our brand has been developed and is being managed
               inhouse to ensure we create a unique consumer journey that is difficult
   21          to replicate. Each step builds on the other, forming a completely
   22          integrated and seamless experience for our owners.

   23          Awareness
   24
               We generate awareness without sacrificing authenticity. The Rivian
   25          brand keeps an honest, approachable, transparent tone and is designed
   26          around adventure. We have built our brand and its expressions in-
               house, spanning creative, marketing, design, digital development,
   27
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    1
               content production, events planning, and analytics. No agencies of
               record. No paid media. We rely on both shared and earned media to
    2          connect directly with our community through engaging content, rich
    3          digital experiences, and immersive events. Building awareness
               organically creates deeper bonds with our community and draws even
    4          more people in.
    5
               Engagement
    6

    7          Every consumer interaction comes directly from Rivian; whether it is
               attending an event, subscribing to our digital content, or purchasing one
    8          of our vehicles. We do not rely on third parties or franchisees to engage
    9          with our consumers. This one-to-one connection starts at the earliest
               stages of our relationship, allowing us to form stronger bonds and more
   10          deeply understand our consumer. The centerpiece of our engagement
   11          approach is our comprehensive demo drive program. Traveling tour
               events in high-growth regions offer immersive driving experiences
   12          while forming connections with our community. To complement our
   13          touring drive events, we will also offer at-home drive experiences
               where we will bring vehicles to individual consumers for a truly
   14          personalized, curated experience. By designing our experiences
   15          entirely around our consumers we seek to create connection and trust,
               and a compelling case to move to the next step in the journey with us.
   16

   17          Conversion
   18          We have made buying a Rivian vehicle simple, transparent, and easy.
   19          There are no dealers to visit or complex, high-pressure sales tactics to
               endure. We have removed the uncomfortable haggling and unfair
   20          leverage typically encountered in the traditional dealership model. Our
   21          intuitive online ordering process replaces what otherwise requires
               several hours at a dealership, with a stress-free experience you can
   22          manage in minutes from your couch. Should an issue arise, every
   23          consumer has a dedicated Rivian Guide they can call, text, or email
               directly for help. If a consumer isn’t satisfied, we offer the assurance of
   24          a hassle-free 7-Day, 1,000- Mile Return Policy. Removing barriers to
   25          purchase with helpful, proactive, frictionless shopping tools and
               customer service results in more willingness to try our brand, including
   26          our vehicles, accessories, services, and merchandise.
   27
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    1            42.   The Registration Statement also addressed the need to attract and retain
    2   a large number of customers:
    3
                 Our success depends on attracting a large number of potential
    4            customers to purchase our vehicles and the associated services we will
    5            provide to our customers. As of October 31, 2021, we had accepted
                 preorders for approximately 55,400 R1Ts and R1Ss in the United States
    6            and Canada. Preorders are not commitments to purchase our R1T or
    7            R1S and are subject to cancellation by customers. If our existing
                 preorder and prospective customers do not perceive our vehicles and
    8            services to be of sufficiently high value and quality, cost competitive
    9            and appealing in aesthetics or performance, or if the final production
                 version of the R1S is not sufficiently similar to the drivable design
   10            prototypes, we may not be able to retain our current preorder customers
   11            or attract new customers, and our business, prospects, financial
                 condition, results of operations, and cash flows would suffer as a result.
   12
                 43.   As to nature of the Company’s preorders, the Registration Statement
   13
        noted:
   14

   15            Deliveries of the R1T began in September 2021 and deliveries of the
                 R1S are not expected to begin until December 2021 and may occur later
   16            or not at all. As a result, we offer waitlist preorders for consumers with
   17            a cancellable and fully refundable deposit of $1,000. Deposits paid to
                 preorder the R1T and R1S are cancellable by the customer until the
   18            customer enters into a lease or purchase agreement. Because all of our
   19            preorders are cancellable, it is possible that a significant number of
                 customers who submitted preorders for our vehicles may not purchase
   20            vehicles.
   21
                 The potentially long wait from the time a preorder is made until the
   22            time the vehicle is delivered, and any delays beyond expected wait
   23            times, could also impact customer decisions on whether to ultimately
                 make a purchase. Any cancellations could harm our business,
   24            prospects, financial condition, results of operations, and cash flows.
   25            44.   Prior to the IPO, the Company originally announced base pricing for its
   26   R1T pickup truck and R1S SUV at $69,000 and $72,000, respectively. In December
   27
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    1   of 2019, Tesla unveiled its Cybertruck with a base price of $39,900. In a January 26,
    2   2020 article published on the website Electek titled “Rivian will start under expected
    3   $69,000 price – Cybertruck effect in action?” it was reported that Rivian adjusted its
    4   pricing to compete with Tesla. According to the article, “Rivian now says that
    5   $69,000 will be the price for a ‘well-equipped vehicle,’ and that base model pricing
    6   will actually be lower than that.” The article noted that after federal tax credits for
    7   EVs (which Tesla no longer qualified for), “a new base model Rivian could net out
    8   to less than $50,000 all-told. This would be quite impressive and even more
    9   disruptive than we originally thought.”
   10          45.    The Registration Statement failed to inform the market that it had
   11   underpriced the R1T and R1S to such a degree that Rivian would be forced to raise
   12   prices shortly after the IPO. As a result, the above statements were materially
   13   inaccurate, misleading, and/or incomplete because they failed to disclose the
   14   potential for significant reputational damage and cancellation of fully refundable
   15   preorders for the R1T and R1S that would result from the Company’s need to address
   16   its underpriced EVs by raising prices shortly after the IPO.
   17          46.    For the foregoing reasons, in addition to being untrue and misleading
   18   because of affirmative untrue and misleading statements and omissions, the
   19   Company’s Registration Statement also failed to comply with SEC Regulation S-K,
   20   17 C.F.R. § 229.303 (“Item 303”). Item 303 required the Company to “[d]escribe
   21   any known trends or uncertainties that have had or that the registrant reasonably
   22   expects will have a material favorable or unfavorable impact on net sales or revenues
   23   or income from continuing operations.”
   24          47.    Defendants caused the Company to violate Item 303 by failing to
   25   disclose the risk of reputational damage and preorder cancellations related to the
   26   Company’s need to raise prices on the R1T and R1S.
   27          48.    The true facts regarding the Offering Documents emerged after news
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    1   broke that the Company was raising its prices. On March 1, 2022, the Company
    2   reported that it was raising the prices of its R1T pickup and R1S SUV by 17 percent
    3   and 20 percent, respectively, and that the new prices would apply to nearly all
    4   preorders. At the time of the announcement, the Company had only produced and
    5   sold roughly 1,000 vehicles. Meanwhile, the number of preorders for the R1T and
    6   R1S had grown to approximately 71,000 as of December 15, 2021.
    7          49.    In a statement to Electrek, the Company’s chief growth officer, Jiten
    8   Behl, attributed the price increases to inflation and the fact that the prices were
    9   originally set in 2018:
   10
               Like most manufacturers, Rivian is being confronted with inflationary
   11          pressure, increasing component costs, and unprecedented supply chain
   12          shortages and delays for parts (including semiconductor chips). This
               rise in cost and complexity due to these challenging circumstances
   13          necessitate an increase to the prices of the R1T and R1S models we
   14          offer today — prices which were originally set in 2018. This decision
               will allow us to continue to offer competitive products that maintain the
   15          high standard of quality, performance and capabilities that our
   16          customers expect and deserve from Rivian. Along with the adjusted
               prices for our current offerings, we are also announcing Dual-Motor
   17          AWD and Standard battery pack options for R1T and R1S, which will
   18          provide a broader range of choices for customers as part of our
               expanding portfolio of options, upgrades and accessories.
   19
               50.    However, in response to Tesla’s unveiling of its Cybertruck, the
   20
        Company announced in 2020 that the pricing for the R1T and R1S was actually for
   21
        a “well-equipped vehicle” and that the base model pricing would be lower.
   22
               51.    In addition, a March 2, 2022 article in the online publication ARS
   23
        Technica, titled “Rivian surprises, outrages EV truck buyers with 20% price hike,”
   24
        questioned the reasons behind the price increases. The article stated: “While
   25
        inflation is likely part of the story, the price hike may have been planned for a while.
   26
        In a lawsuit filed by Laura Schwab, the company’s former VP of sales and marketing
   27
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    1   who alleges the company has a ‘toxic’ bro culture,’ concerns over profitability were
    2   raised in spring 2021.” The article quotes from the lawsuit, which was filed in the
    3   Superior Court of California for Orange County, on November 4, 2021, just days
    4   before the IPO, as follows:
    5
               Beginning in spring of 2021, Ms. Schwab started to raise the alarm
    6          about concerns she had relating to Rivian’s ability to deliver on its
    7          promises to investors. Shockingly, Mr. Behl dismissed her concerns
               and explicitly asked Ms. Schwab not to raise these issues in front of Mr.
    8          [RJ] Scaringe [Rivian’s CEO].
    9
               First, it was clear that the vehicles were underpriced, and each sale
   10          would result in a loss for the company. Ms. Schwab ultimately
   11          contacted Dennis Lucey, Rivian’s Finance Director, and worked with
               him to develop projections showing how much of a loss the company
   12          would incur if Rivian did not raise prices. Ms. Schwab raised this issue
   13          with several executives, including Mr. Behl, Stuart Dixon (Director of
               Product Management), and Andy Zicheck (Principal Product
   14          Manager). Mr. Behl brushed her off. Eventually, Mr. [Patrick] Hunt
   15          [then-senior director of consumer digital] raised the issue with Mr.
               Behl, at which point Mr. Behl agreed that they would need to raise the
   16          vehicle prices after the IPO.
   17          52.    Customers who had placed $1,000 refundable deposits for the
   18   Company’s vehicles configured to their individual preferences were understandably
   19   furious. Online Rivian forums, social media, and news publications were rife with
   20   examples of outrage toward Rivian. One poster on the Company’s Owner Forum
   21   wrote “I’m out. Terrible way to treat early adopters.”               Another individual
   22   commented:
   23
               My quoted price previously was $78,820 for an R1S after going through
   24
               the configurator to get the same vehicle it’s $92k. A 17k increase is not
   25          inflation – it means it wasn’t priced appropriately to begin with. Add-
               in the new ‘option’ for a dual motor which is position as a great new
   26
               option but in reality it just means they are now charging you more for
   27          the quad motor which was previously the only option. This feels like a
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    1
               gigantic bait and switch. I may be losing interest at this point as well…

    2          53.    An article published in Electrek on March 2, 2022, titled “Rivian buyers

    3   are cancelling at alarming rates after price increases,” noted that “A poll on the

    4   Rivian subreddit, one of the biggest communities of Rivian fans, gives us a better

    5   idea of the pulse of the reservation holders, and it shows a high cancelation rate.”

    6          54.    Reservation holders also expressed their anger toward the Company by

    7   posting screen shots of their preorder cancellations to reddit and other social media

    8   platforms. As an example, a reddit user posted the following screen shot under the

    9   heading “Another Long Term Supporter Cancelling[.]”

   10          55.    By the close of trading on March 1, 2022, the Company’s share price

   11   had fallen to $61.91 per share, down $5.65 per share from the previous day’s close

   12   of $67.56 per share. The Company’s shares plummeted further the following day,

   13   closing at $53.56 per share on March 2, 2022.

   14          56.    In a futile attempt at damage control, the Company’s CEO issued a

   15   letter on March 3, 2022, apologizing to customers for breaking their trust and

   16   walking back the price increases by stating that the Company would honor original

   17   prices for preorders placed prior to the price increase announcement. In the letter,

   18   Defendant Scaringe wrote that “Earlier this week, we announced pricing increases

   19   that broke the trust we have worked to build with you[,]” and “The most important

   20   aspect of what we are building is our relationship with all of you. As we

   21   demonstrated earlier this week, trust is hard to build and easy to break.”

   22          57.    Despite agreeing to honor original pricing for existing preorders and

   23   allowing customers who cancelled to reinstate their orders, the damage to the

   24   Company’s reputation was already done. A March 3, 2022 article in The Wall Street

   25   Journal titled “EV Startup Rivian Walks Back Price Increase, Apologizes to

   26   Customers,” shared the following from a now-former Rivian customer:

   27
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    1
               Paul Morgan, 39-year-old California resident, expected Rivian’s prices
               to go up a couple thousand dollars to account for inflation. When he
    2          received notice that the price on his preordered Rivian SUV would
    3          increase $19,000, he drew the line.

    4          “Within five seconds of seeing the new price I clicked the cancel
    5          button,” Mr. Morgan said. Even after learning that his original price
               would be honored, he said he didn’t reinstate his order.
    6
                THE COMPANY’S FALSE AND MISLEADING 2022 PROXY
    7
               58.    On April 27, 2022, Defendants caused the Company to file its 2022
    8
        Proxy Statement with the SEC soliciting shareholder votes to, among other things,
    9
        elect Defendants Scaringe, Krawiec, and Schwartz to the Board. The 2022 Proxy
   10
        Statement was issued by order of the Board and signed by Defendant Scaringe.
   11
               59.    The 2022 Proxy Statement represents that the Board oversees and
   12
        monitors the Company’s risk exposures:
   13

   14          Risk assessment and oversight are an integral part of our governance
               and management processes. Our Board of Directors encourages
   15          management to promote a culture that incorporates risk management
   16          into our corporate strategy and day-to-day business operations.
               Management discusses strategic and operational risks at regular
   17          management meetings and conducts specific strategic planning and
   18          review sessions during the year that include a focused discussion and
               analysis of the risks facing us. Throughout the year, senior management
   19          reviews these risks with the Board of Directors at regular Board of
   20          Directors meetings as part of management presentations that focus on
               particular business functions, operations or strategies, and presents the
   21          steps taken by management to mitigate or eliminate such risks. Our
   22          Board of Directors does not have a standing risk management
               committee, but rather administers this oversight function directly
   23          through the Board of Directors as a whole, as well as through various
   24          standing committees of the Board of Directors that address risks
               inherent in their respective areas of oversight. While our Board of
   25          Directors is responsible for monitoring and assessing strategic risk
   26          exposure, our Audit Committee is responsible for overseeing our major
               financial risk and enterprise exposures and the steps our management
   27
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    1
               has taken to mitigate such exposures, including the structure, design,
               adoption and implementation of our risk management policies and
    2          internal control systems. The Audit Committee also oversees
    3          management of cybersecurity risks and approves or disapproves any
               related person transactions. Our Compensation Committee is
    4          responsible for overseeing the management of risks relating to our
    5          executive compensation plans and arrangements. Our Nominating and
               Governance Committee manages risks associated with the
    6          independence of our Board of Directors and governance matters…. The
    7          Board of Directors does not believe that its role in the oversight of our
               risks affects the Board of Directors’ leadership structure.
    8
               60.    The 2022 Proxy Statement represents that the Company’s culture is
    9
        collaborative, omitting the gender discrimination faced by Schwab and other
   10
        Company employees:
   11

   12          Coming together to do more than we can on our own.

   13          Building a collaborative culture is critical for us to deliver on our
   14          mission – the complexity of our products and customer ecosystems
               means that a wide range of skillsets and backgrounds must work closely
   15          together to make thousands of decisions every day.
   16
               The degree to which we are successful in continuing to build and
   17          maintain our collaborative culture will directly translate to our ability
   18          to create beautifully curated and holistically integrated customer
               experiences. This cross-system view is also foundational for our ability
   19          to achieve our sustainability and carbon neutrality targets.
   20          61.    The foregoing statements in the 2022 Proxy Statement were false and
   21   misleading and omitted material information. Contrary to the representations made
   22   in the Proxy, the Board was required, but failed to: (a) implement and maintain an
   23   effective system of internal controls to ensure that the Company was complying with
   24   all laws, rules, and regulations governing the Company’s core operations and
   25   making truthful, accurate, and complete statements to investors and customers; (b)
   26   effectively oversee the material risks facing the Company; and (c) investigate and
   27
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    1   take action when presented with red flags regarding misconduct in connection with
    2   the Company’s pricing strategy, production capabilities, representations to investors
    3   and customers, and the Company’s corporate culture.
    4             DERIVATIVE AND DEMAND FUTILITY ALLEGATIONS
    5          62.    Plaintiff brings this action derivatively in the right and for the benefit
    6   of the Company to redress injuries suffered and to be suffered as a direct and
    7   proximate result of Defendants’ violations of Section 14(a) of the Exchange Act, and
    8   their breaches of fiduciary duties and other wrongful conduct as alleged herein and
    9   that occurred during the Relevant Period.
   10          63.    Plaintiff will adequately and fairly represent the interests of the
   11   Company in enforcing and prosecuting its rights and has retained counsel competent
   12   and experienced in derivative litigation.
   13          64.    Plaintiff is a current owner of the Company stock and have been an
   14   owner of Company stock during the Relevant Period. Plaintiff understands his
   15   obligation to hold stock throughout the duration of this action and is prepared to do
   16   so.
   17          65.    Because of the facts set forth herein, Plaintiff has not made a demand
   18   on the Board of the Company to institute this action against the Director Defendants.
   19   Such demand would be a futile and useless act because the Board is incapable of
   20   making an independent and disinterested decision to institute and vigorously
   21   prosecute this action.
   22          66.    At the time this suit was filed, the Board was comprised of seven (7)
   23   members -- Scaringe, Boone, Schwartz, Marcario, Krawiec, Flatley and Thomas-
   24   Graham. Thus, Plaintiff is required to show that a majority of Defendants, i.e., four
   25   (4), could not exercise independent objective judgment about whether to bring this
   26   action or whether to vigorously prosecute this action.
   27          67.    The Director Defendants face a substantial likelihood of liability in this
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    1   action because they caused the Company to issue false and misleading statements
    2   concerning the information described herein. Because of their advisory, executive,
    3   managerial, and directorial positions with the Company, the Director Defendants
    4   had knowledge of material non-public information regarding the Company and were
    5   directly involved in the operations of the Company at the highest levels.
    6          68.    The Director Defendants either knew or should have known of the false
    7   and misleading statements that were issued on the Company’s behalf and took no
    8   steps in a good faith effort to prevent or remedy that situation.
    9          69.    The Director Defendants (or at the very least a majority of them) cannot
   10   exercise independent objective judgment about whether to bring this action or
   11   whether to vigorously prosecute this action. For the reasons that follow, and for
   12   reasons detailed elsewhere in this Complaint, Plaintiff did not make (and was
   13   excused from making) a pre-filing demand on the Board to initiate this action
   14   because making a demand would have been a futile and useless act.
   15          70.    Each of the Director Defendants approved and/or permitted the wrongs
   16   alleged herein to have occurred and participated in efforts to conceal or disguise
   17   those wrongs from the Company’s stockholders or recklessly and/or with gross
   18   negligence disregarded the wrongs complained of herein and are therefore not
   19   disinterested parties.
   20          71.    Each of the Director Defendants authorized and/or permitted the false
   21   statements to be disseminated directly to the public and made available and
   22   distributed to shareholders, authorized and/or permitted the issuance of various false
   23   and misleading statements, and are principal beneficiaries of the wrongdoing alleged
   24   herein, and thus, could not fairly and fully prosecute such a suit even if they instituted
   25   it.
   26          72.    Additionally, each of the Director Defendants received payments,
   27   benefits, stock options, and other emoluments by virtue of their membership on the
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    1   Board and their control of the Company.
    2          THE DIRECTOR DEFENDANTS WERE NOT INDEPENDENT
    3   Defendant Scaringe
    4          73.    Defendant Scaringe is the Company’s Founder and CEO. Defendant
    5   Scaringe is also a Board member. Defendant Scaringe is not disinterested or
    6   independent, and therefore, is incapable of considering demand because Defendant
    7   Scaringe (as CEO) is an employee of the Company who derives substantially all of
    8   his income from his employment with the Company, making him not independent.
    9   As such, Defendant Scaringe could not independently consider any demand to sue
   10   himself for breaching his fiduciary duties to the Company, because that would have
   11   exposed him to liability and threaten his livelihood.
   12          74.    This lack of independence and financial benefits received by Defendant
   13   Scaringe renders him incapable of impartially considering a demand to commence
   14   and vigorously prosecute this action.
   15          75.    Further, Defendant Scaringe is also a defendant in the securities class
   16   actions entitled Crews v. Rivian, Inc., et al., Case 2:22-cv-01524 (C.D. Cal.) and
   17   Horvath v. Rivian, Inc., et al., Case 8:22-cv-00444 (C.D. Cal.) (“Securities Class
   18   Actions”).
   19          76.    In addition, Defendant Scaringe signed the 2022 Proxy Statement
   20   containing false and misleading statements and material omissions and faces a
   21   substantial likelihood of liability therefor.
   22          77.    Defendant Scaringe is seeking to benefit from the violation of Section
   23   14(a) of the Exchange Act by securing his re-election to the Board through the false
   24   and misleading statements and material omissions in the 2022 Proxy Statement.
   25   Defendant Boone
   26          78.    Defendant Boone is named as a defendant in the Securities Class
   27   Actions. As such, Defendant Boone is incapable of considering a demand to
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    1   commence and vigorously prosecute this action with the required independence and
    2   disinterest.
    3          79.     Further, Defendant Boone authorized the 2022 Proxy Statement
    4   containing false and misleading statements and material omissions and faces a
    5   substantial likelihood of liability. Moreover, Defendant Boone has a long-standing
    6   business relationship with Defendant Thomas-Graham which precludes them from
    7   acting in an independent and disinterested manner. Defendant Boone has been a
    8   director on the board of Peloton alongside Defendant Thomas-Graham for more than
    9   three years.
   10   Defendant Schwartz
   11          80.     Defendant Schwartz is named as a defendant in the Securities Class
   12   Actions. As such, Defendant Schwartz is incapable of considering a demand to
   13   commence and vigorously prosecute this action with the required independence and
   14   disinterest.
   15          81.     Defendant Schwartz authorized the 2022 Proxy Statement containing
   16   false and misleading statements and material omissions and faces a substantial
   17   likelihood of liability. Defendant Schwartz is seeking to benefit from the violation
   18   of Section 14(a) of the Exchange Act pled herein by securing his re-election to the
   19   Board through the false and misleading statements and material omissions in the
   20   2022 Proxy Statement.
   21          82.     In addition, Defendant Schwartz has served in multiple positions at
   22   Cox, a communications and automotive company, over the last thirty-seven (37)
   23   years including most recently as CEO of the Cox Family Office since January 2021,
   24   helping to guide family investments and estate planning for the company’s
   25   shareholders. Manheim, an affiliate of Cox, owns approximately 39,262,248 Rivian
   26   Class A shares, with total voting control of 4.2%. Cox designated Schwartz as a
   27   director of the board in 2019. Defendant Schwartz would not investigate and take
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    1   action against those responsible since it would devalue that substantial investment.
    2          83.     Cox also entered into a Master Subscription Agreement with Rivian in
    3   November 2020 to provide products and services to support Rivian’s consumer
    4   vehicle sales.
    5          84.     Defendant Marcario is named as a defendant in the Securities Class
    6   Actions. As such, Defendant Marcario is incapable of considering a demand to
    7   commence and vigorously prosecute this action with the required independence and
    8   disinterest.
    9          85.     Defendant Marcario authorized the 2022 Proxy Statement containing
   10   false and misleading statements and material omissions and faces a substantial
   11   likelihood of liability.
   12   Defendant Krawiec
   13          86.     Defendant Krawiec is named as a defendant in the Securities Class
   14   Actions. As such, Defendant Krawiec is incapable of considering a demand to
   15   commence and vigorously prosecute this action with the required independence and
   16   disinterest.
   17          87.     Defendant Krawiec authorized the 2022 Proxy Statement containing
   18   false and misleading statements and material omissions and faces a substantial
   19   likelihood of liability.
   20          88.     Defendant Krawiec is seeking to benefit from the violation of Section
   21   14(a) of the Exchange Act pled herein by securing his re-election to the Board
   22   through the false and misleading statements and material omissions in the 2022
   23   Proxy Statement.
   24          89.     Since 2007, Defendant Krawiec has served in various leadership roles
   25   at Amazon, including as Vice President of Worldwide Corporate and Business
   26   Development since March 2021. Amazon is the largest shareholder of Rivian with
   27   beneficial ownership of approximately 159,522,782 Rivian Class A shares and total
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    1   voting control of 18.1%. According to the IPO Prospectus, Defendant Krawiec
    2   shares voting control and investment power over Amazon’s shares in Rivian.
    3   Defendant Krawiec would not investigate and take action against those responsible
    4   since it would devalue that substantial investment. Further, Amazon also nominated
    5   Defendant Krawiec as a director per a nominating agreement outlined in the 2022
    6   Proxy Statement.
    7          90.     Further, in February 2019, Rivian entered into an agreement with
    8   Amazon and its affiliates to provide 100,000 vehicles for Amazon’s delivery fleet.
    9   The deal is discussed at length in the IPO Prospectus and reveals how dependent
   10   Rivian is on Amazon.
   11          91.     Also, since 2016, Rivian uses Amazon Web Services, Inc., an Amazon
   12   affiliate, for cloud computing services.
   13   Defendant Flatley
   14          92.     Defendant Flatley is named as a defendant in the Securities Class
   15   Actions. As such, Defendant Flatley is incapable of considering a demand to
   16   commence and vigorously prosecute this action with the required independence and
   17   disinterest.
   18          93.     Defendant Flatley authorized the 2022 Proxy Statement containing
   19   false and misleading statements and material omissions and faces a substantial
   20   likelihood of liability.
   21          94.     In addition, Defendant Flatley is the CEO and Chair of the Board of
   22   Zymergen, a biotechnology company. J.P. Morgan Securities LLC (“J.P. Morgan”),
   23   Goldman Sachs & Co. LLC (“Goldman Sachs”), and BofA Securities, Inc (“BofA
   24   Securities”), the underwriters for Rivian’s IPO, also acted as underwriters for
   25   Zymergen’s initial public offering on April 22, 2021. J.P. Morgan, Goldman Sachs,
   26   and BofA Securities are named defendants in the securities class actions and
   27   Defendant Flatley would not take any action to jeopardize their defense therein.
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    1   Defendant Thomas-Graham
    2          95.    Defendant Thomas-Graham is named as a defendant in the Securities
    3   Class Actions. As such, Defendant Thomas-Graham is incapable of considering a
    4   demand to commence and vigorously prosecute this action with the required
    5   independence and disinterest.
    6          96.    Defendant Thomas-Graham authorized the 2022 Proxy Statement
    7   containing false and misleading statements and material omissions and faces a
    8   substantial likelihood of liability.
    9          97.    Defendant Thomas-Graham has a long-standing business relationship
   10   with Defendant Boone which precludes them from acting in an independent and
   11   disinterested manner. Defendant Thomas-Graham has been a director on the board
   12   of Peloton alongside Defendant Boone for more than three (3) years.
   13   Defendants Boone, Flatley and Thomas-Graham
   14          98.    Defendants Boone, Flatley and Thomas-Graham served as members of
   15   the Audit Committee at all relevant times. As such, they are responsible for the
   16   effectiveness of the Company’s internal controls, the integrity of its financial
   17   statements, and its compliance with laws and regulations. As alleged herein, Boone,
   18   Flatley and Thomas-Graham failed to ensure the integrity of the Company’s internal
   19   controls, allowing the materially misleading financial statements to be disseminated
   20   in the Company’s SEC filings and other disclosures. Thus, Boone, Flatley and
   21   Thomas-Graham breached their fiduciary duties and are not interested, and demand
   22   is excused as to them.
   23                                             COUNT I
   24
                         (Against the Director Defendants for Violations of
   25                          Section 14(a) Of The Exchange Act)
   26          99.    Plaintiff incorporates by references and realleges each and every
   27   allegation contained above, as though fully set forth herein.
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    1          100.   The Section 14(a) claim alleged herein is based solely on negligence.
    2   It is not based on any allegation of reckless or knowing conduct by or on behalf of
    3   the Director Defendants. The Section 14(a) claim alleged herein does not allege and
    4   does not sound in fraud. Plaintiff specifically disclaims any allegations of reliance
    5   upon any allegation of, or reference to any allegation of fraud, scienter, or
    6   recklessness with regard to those non-fraud claims.
    7          101.   Section 14(a) of the Exchange Act, 15 U.S.C. § 78n(a)(1), provides
    8   that: “[i]t shall be unlawful for any person, by use of the mails or by any means or
    9   instrumentality of interstate commerce or of any facility of a national securities
   10   exchange or otherwise, in contravention of such rules and regulations as the [SEC]
   11   may prescribe as necessary or appropriate in the public interest or for the protection
   12   of investors, to solicit or to permit the use of his name to solicit any proxy or consent
   13   or authorization in respect of any security (other than an exempted security)
   14   registered pursuant to section 12 of this title [15 U.S.C. § 78l].”
   15          102.   Rule 14a-9, promulgated pursuant to § 14(a) of the Exchange Act,
   16   provides that no proxy statement shall contain “any statement which, at the time and
   17   in the light of the circumstances under which it is made, is false or misleading with
   18   respect to any material fact, or which omits to state any material fact necessary in
   19   order to make the statements therein not false or misleading.” 17 C.F.R. § 240.14a-
   20   9.
   21          103.   The 2022 Proxy Statement was materially false and misleading because
   22   the Director Defendants failed to maintain adequate internal controls and conduct
   23   the required oversight, over the Company’s pricing strategy, production capabilities,
   24   and corporate culture. The Director Defendants also failed to implement and
   25   maintain an effective system of internal controls to ensure the timely disclosure of
   26   truthful, accurate and complete information as required by the securities laws, which
   27   has resulted in the Company being named a defendant in the Securities Class
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    1   Actions.
    2          104.   The misleading information contained in the 2022 Proxy Statement was
    3   material to Rivian’s shareholders in determining whether to elect Defendant
    4   Scaringe, Krawiec, and Schwartz to the Board.
    5          105.   The material misstatements and omissions in the 2022 Proxy Statement
    6   damaged the Company.
    7          106.   Plaintiff, on behalf of the Company, seeks relief for damages inflicted
    8   upon the Company based on the misleading 2022 Proxy Statement in connection
    9   with the improper election of certain members of the Board.
   10                                            COUNT II
   11              (Against Director Defendants for Breach of Fiduciary Duty)
   12          107.   Plaintiff incorporates by reference and realleges each and every
   13   allegation contained above, as though fully set forth herein.
   14          108.   The Director Defendants owed the Company fiduciary obligations. By
   15   reason of their fiduciary relationships, the Director Defendants owed the Company
   16   the highest obligation of good faith, fair dealing, loyalty, and due care.
   17          109.   The Director Defendants violated and breached their fiduciary duties of
   18   care, loyalty, reasonable inquiry, and good faith.
   19          110.   The Director Defendants engaged in a sustained and systematic failure
   20   to properly exercise their fiduciary duties.          Among other things, the Director
   21   Defendants breached their fiduciary duties of loyalty and good faith by allowing or
   22   permitting false and misleading statements to be disseminated in the Company’s
   23   SEC filings and other disclosures and, otherwise failing to ensure that adequate
   24   internal controls were in place regarding the serious business reporting issues and
   25   deficiencies described above. These actions could not have been a good faith
   26   exercise of prudent business judgment to protect and promote the Company’s
   27   corporate interests.
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    1          111.   As a direct and proximate result of the Director Defendants’ failure to
    2   perform their fiduciary obligations, the Company has sustained significant damages.
    3   As a result of the misconduct alleged herein, the Director Defendants are liable to
    4   the Company.
    5          112.   As a direct and proximate result of the Director Defendants’ breach of
    6   their fiduciary duties, the Company has suffered damage, not only monetarily, but
    7   also to its corporate image and goodwill. Such damage includes, among other things,
    8   costs associated with defending and/or settling securities lawsuits and governmental
    9   investigations, severe damage to the share price of the Company’s stock, resulting
   10   in an increased cost of capital, and reputational harm.
   11                                           COUNT III
   12             (Against Director Defendants for Waste of Corporate Assets)
   13          113.   Plaintiff incorporates by reference and realleges each and every
   14   allegation contained above, as though fully set forth herein.
   15          114.   The wrongful conduct alleged regarding the issuance of false and
   16   misleading statements was continuous, connected, and on-going throughout the
   17   Relevant Period. It resulted in continuous, connected, and ongoing harm to the
   18   Company.
   19          115.   As a result of the misconduct described above, the Director Defendants
   20   wasted corporate assets by, inter alia: (a) paying excessive compensation, bonuses,
   21   and termination payments to certain of its executive officers; (b) awarding self-
   22   interested stock options to certain officers and directors; and (c) incurring potentially
   23   millions of dollars of legal liability and/or legal costs to defend and/or settle actions
   24   addressing Defendants’ unlawful actions.
   25          116.   As a result of the waste of corporate assets, the Director Defendants are
   26   liable to the Company.
   27          117.   Plaintiff, on behalf of the Company, has no adequate remedy at law.
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    1                                    PRAYER FOR RELIEF
    2          WHEREFORE, Plaintiff prays for relief and judgment, as follows:
    3          (A)    Declaring that Plaintiff may maintain this action on behalf of the
    4   Company and that Plaintiff is an adequate representative of the Company;
    5          (B)    Finding Defendants liable for breaching their fiduciary duties owed to
    6   the Company;
    7          (C)    Directing Defendants to take all necessary actions to reform and
    8   improve the Company’s corporate governance, risk management, and internal
    9   operating procedures to comply with applicable laws and to protect the Company
   10   and its stockholders from a repeat of the rampant wrongful conduct described herein;
   11          (D)    Awarding damages to the Company for the harm the Company suffered
   12   as a result of the Defendants’ wrongful conduct;
   13          (E)    Awarding damages to the Company for Defendants violations of
   14   Section 14(a) of the Exchange Act;
   15          (F)    Awarding Plaintiff the costs and disbursements of this action, including
   16   attorneys’, accountants’, and experts’ fees; and
   17          (G)    Awarding such other and further relief as is just and equitable.
   18                                 JURY TRIAL DEMANDED
   19          Plaintiff hereby demands a trial by jury on all issues so triable.
   20   Dated: June 2, 2022
   21
                                             MAGNANIMO DEAN LAW, APC
   22

   23
                                             By: /s/ Lauren A. Dean
   24                                            LAUREN A. DEAN (SBN 174722)
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